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 Counsel for the Official Committee of Unsecured Creditors

                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 In re:                                                Chapter 11
 CORSICANA BEDDING, LLC, et al.,                       Case No. 22-90016-ELM-11
           Debtors.                                    Jointly Administered

                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that a hearing has been scheduled for Monday, December 19,

2022, at 1:30 p.m. Central Time before the Honorable Edward L. Morris to consider the First

and Final Application of Pachulski Stang Ziehl & Jones LLP, as Counsel to the Official Committee

of Unsecured Creditors, for Allowance of Compensation and Reimbursement of Expenses for

Services Rendered During the Period from July 11, 2022 Through December 19, 2022 [Docket

No. 509] and the Fifth Monthly and Final Fee Application of Alvarez & Marsal North America,

LLC, as Financial Advisor to the Official Committee Of Unsecured Creditors, for Allowance of

Compensation and Reimbursement of Expenses for the Period July 11, 2022 Through December

19, 2022 [Docket No. 510] (together, the “Final Fee Applications”).

        PLEASE TAKE FURTHER NOTICE that the hearing will be conducted in a hybrid

mode, both in-person and via videoconference and teleconference via Webex. For those parties

who wish to participate remotely, the WebEx hearing link may be accessed here:

https://uscourts.webex.com/meet/morris. The WebEx instructions may be accessed here:


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https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-morris-hearing-dates-0

        For those parties wishing to participate telephonically, the dial-in information is as follows:

                 Dial-In:           1.650.479.3207       Meeting ID:           473 581 124

        PLEASE TAKE FURTHER NOTICE that the deadline for filing responses or objections

to the Final Fee Applications is Wednesday, December 14, 2022 at 5:00 p.m. Central Time.

        PLEASE TAKE FURTHER NOTICE that copies of the Final Fee Applications may be

obtained (i) for free at the website established by the Debtors’ noticing agent, Donlin, Recano &

Company,       Inc.    at    www.donlinrecano.com/corsicana,    (ii)   from   the   Court’s   website

http://www.txnb.uscourts.gov via ECF/Pacer (Note that a PACER password is needed to access

documents on the Court’s website), or (iii) upon request to the undersigned.

Dated: November 28, 2022                       Respectfully submitted,

                                               /s/ Michael D. Warner
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